       Case 20-21563-JAD                       Doc 102         Filed 07/01/25 Entered 07/01/25 10:41:33                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              RYAN S. KADLECIK


     Debtor 2              CHERI L. KADLECIK
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          20-21563JAD




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  MIDFIRST BANK SSB*                                                              10

 Last 4 digits of any number you use to identify the debtor's account                         5   0   6   6

 Property Address:                             4001 OAK POINT CIRCLE
                                               MCKEES ROCKS PA 15136




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        5,368.13

     b. Prepetition arrearage paid by the trustee:                                                                   (b)   $        5,368.13

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $            0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $            0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $            0.00

 f.       Postpetition arrearage paid by the trustee:                                                              + (f)   $            0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        5,368.13



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee.
         Current monthly mortgage payment                                                                                  $      $2,374.32
         The next postpetition payment is due on                 8 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     RYAN S. KADLECIK                                                 Case number (if known) 20-21563JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor( s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor( s) have paid in full the
 amount required to cure the default and stating whether the debtor( s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     07/01/2025


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     RYAN S. KADLECIK                                              Case number (if known) 20-21563JAD
             Name




                                                Disbursement History

Date         Check #     Name                                    Posting Type                                         Amount
POST PETITION FEE NOTICE (Part *** ERROR ***
05/23/2025   1331327     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        447.56
06/25/2025   1333766     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        377.44
                                                                                                                      825.00

MORTGAGE ARR. (Part 2 (b))
09/24/2021   1210676     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          51.98
10/25/2021   1213748     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         124.39
11/22/2021   1216783     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         115.00
12/23/2021   1219858     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         574.90
01/26/2022   1222919     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         114.19
02/23/2022   1225795     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         113.79
03/25/2022   1228754     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         113.39
04/26/2022   1231798     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         112.98
05/25/2022   1234837     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         564.75
06/27/2022   1237864     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         112.17
07/26/2022   1240808     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         109.91
08/24/2022   1243693     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         109.50
09/27/2022   1246560     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         109.10
10/25/2022   1249390     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          99.55
11/23/2022   1252166     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         523.29
12/22/2022   1254926     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          89.74
01/26/2023   1257653     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          89.40
02/23/2023   1260276     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          89.06
03/28/2023   1263045     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          88.72
04/25/2023   1265864     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          88.38
05/25/2023   1268722     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         511.53
06/26/2023   1271618     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          77.95
07/25/2023   1274384     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          72.18
08/25/2023   1277155     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          71.90
09/26/2023   1279908     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          71.62
10/25/2023   1282616     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          90.59
11/27/2023   1285294     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          83.84
12/21/2023   1287884     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          83.50
01/26/2024   1290563     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         495.16
03/26/2025   1326440     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         166.96
04/25/2025   1328906     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                         178.00
05/23/2025   1331327     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                          70.71
                                                                                                                     5,368.13

MORTGAGE REGULAR PAYMENT (Part 3)
07/29/2020   1165964     CALIBER HOME LOANS                      AMOUNTS DISBURSED TO CREDITOR                       3,152.38
08/25/2020   1170071     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,103.37
09/28/2020   1173167     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,268.11
10/26/2020   1176264     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,101.49
11/24/2020   1179334     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,233.77
12/21/2020   1182285     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,313.90
01/25/2021   1185255     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       3,552.20
02/22/2021   1188389     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,426.43
03/26/2021   1191675     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,448.23
04/26/2021   1194925     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,459.86
05/25/2021   1198048     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,465.76
06/25/2021   1201233     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       3,703.10
07/26/2021   1204435     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,390.60
08/26/2021   1207557     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,255.02
09/24/2021   1210676     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
10/25/2021   1213748     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
11/22/2021   1216783     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
12/23/2021   1219858     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
01/26/2022   1222919     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
02/23/2022   1225795     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
03/25/2022   1228754     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
04/26/2022   1231798     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15
05/25/2022   1234837     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                       2,248.15

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Debtor 1     RYAN S. KADLECIK                                              Case number (if known) 20-21563JAD
             Name




                                                Disbursement History

Date         Check #     Name                                    Posting Type                                          Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
06/27/2022   1237864     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,248.15
07/26/2022   1240808     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
08/24/2022   1243693     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
09/27/2022   1246560     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
10/25/2022   1249390     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
11/23/2022   1252166     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
12/22/2022   1254926     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
01/26/2023   1257653     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
02/23/2023   1260276     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
03/28/2023   1263045     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
04/25/2023   1265864     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
05/25/2023   1268722     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
06/26/2023   1271618     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,255.37
07/25/2023   1274384     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
08/25/2023   1277155     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
09/26/2023   1279908     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
10/25/2023   1282616     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
11/27/2023   1285294     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
12/21/2023   1287884     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
01/26/2024   1290563     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,277.54
02/26/2024   1293228     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        1,936.46
03/26/2024   1295873     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,140.89
05/29/2024   1301233     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        3,262.86
06/25/2024   1303771     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,177.30
07/25/2024   1306368     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,178.17
08/26/2024   1308946     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        3,320.38
09/25/2024   1311536     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,391.72
10/25/2024   1314058     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,800.29
11/25/2024   1316625     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,901.64
12/23/2024   1319029     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        1,465.05
01/28/2025   1321524     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,931.46
02/25/2025   1323954     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,876.04
03/26/2025   1326440     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,374.32
04/25/2025   1328906     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,374.32
05/23/2025   1331327     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,374.32
06/25/2025   1333766     MIDFIRST BANK SSB*                      AMOUNTS DISBURSED TO CREDITOR                        2,374.32
                                                                                                                    141,242.48




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                                         CERTIFICATE OF
                                         Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

RYAN S. KADLECIK
CHERI L. KADLECIK
4001 OAK POINT CIRCLE
MC KEES ROCKS, PA 15136

BRYAN P KEENAN ESQ
BRYAN P KEENAN & ASSOC PC
993 GREENTREE RD STE 200
PITTSBURGH, PA 15220

MIDFIRST BANK SSB*
ATTN BANKRUPTCY TRUSTEE PMTS*
999 NW GRAND BLVD STE 100
OKLAHOMA CITY, OK 73118

MIDFIRST BANK
999 NW GRAND BLVD #110
OKLAHOMA CITY, OK 73118-6077

ALDRIDGE PITE LLP
3333 CAMINO DEL RIO SOUTH STE 225
SAN DIEGO, CA 92108




7/1/25                                                        /s/ Roberta Saunier
                                                              Administrative Assistant
                                                              Office of the Chapter 13 Trustee




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